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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MONTANA

                                BILLINGS DIVISION


 CARLOS SALAZAR LOPEZ,                            Case No. CR-97-37-BLG-JDS
                                                           CV-10-105-BLG-JDS
                 Petitioner,
 vs.                                                       ORDER

 UNITED STATES OF AMERICA,

                  Respondent.


       Presently before the Court is Petitioner’s Pro Se motion seeking Habeas Corpus

Relief pursuant to 28 U.S.C. § 2255. Petitioner was convicted of drug and firearms

crimes pursuant to 21 U.S.C. §§ 841 & 846. He was also convicted on a firearm

count pursuant to 18 U.S.C. § 9249(c)

       Petitioner was originally sentenced to 292 months on the drug counts, with a

consecutive 60 months for the firearms count, for a total of 352 months incarceration

to be followed by 60 months of supervised release. Petitioner prevailed at the Ninth

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Circuit on Petitioner’s prior § 2255 Petition. As a result, this Court re-sentenced the

Petitioner to 210 months on the drug counts and 60 months on the firearm count to

run consecutive. for a total of 270 months custody. Petitioner appealed this Court’s

Judgment to the Ninth Circuit Court of Appeals. The Ninth Circuit affirmed this

Court’s ruling. Petitioner then sought a writ of certiorari with the U.S. Supreme

Court which was denied on December 14, 2009. Petitioner’s present § 2255 Petition

is timely filed.

1.     Application to Proceed In Forma Pauperis

       Although Petitioner has not submitted an Application to Proceed In Forma

Paupers, given the time he has already serving time in prison, this Court shall assume

the Petitioner is indigent. As such, this Court shall allow the Petitioner’s Application

to proceed In Forma Pauperis.

2.     Habeas Petition

       Petitioner’s § 2255 Petition alleges ineffective assistance of counsel.

Specifically, Petitioner contends that at re-sentencing, his attorney Michael Donohoe

was ineffective because (1) he failed to argue the extent of Petitioner’s rehabilitative

efforts while incarcerated and (2) failed to argue the validity of Petitioner’s 60- month

consecutive firearm sentence in light of United States v. Williams, 558 F.3d 166 (2nd

Cir. 2009); (3) failed to warn him of the collateral consequences of his conviction; (4)

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failed to re-litigate the drug quantities; and (5) failed to object to the forensic report.

       To establish ineffective assistance of counsel, Petitioner must demonstrate that

under the totality of the circumstances, his trial counsel performed deficiently and that

counsel's performance resulted in prejudice. Strickland v. Washington, 466 U.S. 668

(1984). As the Supreme Court has explained:

       First, the defendant must show that counsel's performance was deficient. This
       requires showing that counsel made errors so serious that counsel was not
       functioning as the ‘counsel’ guaranteed the defendant by the Sixth
       Amendment.
       Second, the defendant must show that the deficient performance prejudiced the
       defense. This requires showing that counsel's errors were so serious as to
       deprive the defendant of a fair trial, a trial whose result is reliable. Id. at 687.
       As to the “performance” inquiry, “[t]he proper measure of attorney
       performance remains simply reasonableness under prevailing professional
       norms.” Id. at 688. Under Strickland, “counsel has a duty to make reasonable
       investigations or to make a reasonable decision that makes particular
       investigations unnecessary.” Id. at 691.


To prevail on his claims, Petitioner must establish that: (1) his counsel's performance

fell below an objective standard of reasonableness; and (2) that there is a reasonable

probability that but for the deficiency, the outcome of the proceedings would have

been different. Towery v. Schriro, 622 F.3d 1237,1238 (9th Cir. 2010).

       “The objective standard of reasonableness is a highly deferential one and

includes a strong presumption that counsel's conduct fall within a wide range of

reasonable professional assistance.” Mason v. Mitchell, 320 F.3d 604, 616-17 (6th

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Cir.2003). In Strickland, the Supreme Court defined a “reasonable probability” to

mean a “probability sufficient to undermine confidence in the outcome.” 466 U.S. at

694. Unless Petitioner makes both showings, his claims fail. Id. at 687.

      A.     Attorney failed to pursue Except Clause under 18 U.S.C. § 924

      Petitioner’s first ground regarding his ineffective assistance claim is that his

Attorney Michael Donohoe failed to argue the except clause contained in 21 U.S.C.

§924(c)(1)(A).    Specifically, Petitioner cites to the Second Circuit ruling United

States v. Williams, 558 F.3d 166 (2d Cir.2009), regarding the application of an

additional concurrent sentence under 18 U.S.C. § 924(c)(1) when there is already a

minimum sentence for an underlying offense. Based on Williams, Petitioner contends

that his 60 month consecutive firearm sentence is unconstitutional. In Williams, that

Court held that a concurrent mandatory minimum sentence associated with a violation

of § 924(c)(1) does not apply when there is a violation of another statute during the

same course of conduct that carries a higher mandatory minimum sentence. Id. at

169-76. The Second Circuit found that the “except” clause of § 924(c)(1), which

states “[e]xcept to the extent that a greater minimum sentence is otherwise provided

by this subsection or by any other provision of law,” applies to any other criminal

statute, not just § 924. Id. at 169-70.

      Essentially, Petitioner contends that given that his substantive drug counts

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contained a mandatory minimum of ten years imprisonment, the except clause of

§ 924( c) precluded the 60 month consecutive term of imprisonment on his firearm

count. Because Attorney Donahoe failed to argue this at sentencing or on appeal,

Petitioner contends that he was ineffective.

      However, the Court notes that at the time of Petitioner’s re-sentencing, appeal

and subsequently filing of his present § 2255 motion, the Ninth Circuit had not yet

ruled on the issue discussed in Williams. More importantly, since the Petitioner’s

filing of his § 2255, the U.S. Supreme Court has ruled on the except clause in Abbot

v. United States, 131 S.Ct. 18 (November 15, 2010). Ultimately, the Abbot Court

concluded that here was “strong contextual support for our view that Congress

intended the “except” clause to serve simply as a clarification of § 924(c), not as a

major restraint on the statute's operation.” Id., 131 S.Ct. at 30. In Abbott, the Court

unanimously held that defendants subject to a mandatory, consecutive sentence for

a § 924(c) conviction, are “not spared from that sentence by virtue of receiving a

higher mandatory minimum on a different count of conviction.” Id., 131 S.Ct. at 23.

As such, Petitioner's argument that his consecutive sentence violates 18 U.S.C. §

924(c) is without merit and Petitioner's original sentence remains in effect. Further,

Petitioner has failed to meet the second prong of Strickland in that he was prejudiced

by Attorney Donahoe’s failure to raise this argument either at the district court level

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or on appeal. Petitioner’s § 2255 Motion for relief on this ground is DENIED.

      B.     NO ATTORNEY INFORMED SALAZAR OF THE COLLATERAL
             CONSEQUENCES OF HIS CONVICTION

      Next, Petitioner contends his trial attorney Palmer Hoovestal violated ethical

rules of conduct for attorneys by failing to advise him of the collateral consequences

of his conviction. In support, Petitioner cites to Padilla v. Kentucky, 130 S.Ct. 1473

(2010). However, in the body of Petitioner’s present § 2255 motion, other than citing

to the ethical duties of a criminal attorney regarding informing a client of collateral

consequences, Petitioner fails to present any acts of collateral consequence that give

rise to Attorney Hoovestal ineffective assistance. More importantly, Petitioner has

failed to allege how those acts prejudiced him.         Other than bald conclusory

allegations, Petitioner presents no support for this claim. As such, Petitioner’s

Motion for § 2255 relief on this ground is DENIED.

      C.     ABBOT v. UNITED STATES SHOULD BE APPLIED RETROACTIVELY

      In anticipation of Abbot v. United States being ruled in his favor, Petitioner

prospectively argues that it should be applied retroactively to his case. However, as

reflected above, the Abbot Court ruled against the Petitioner. Therefore, Petitioner’s

§ 2255 Motion for relief on this ground is DENIED as MOOT.




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      D.        ATTORNEY DONAHOE FAILED TO ARGUE FOR DOWNWARD
                VARIANCE

      Next Petitioner argues that Attorney Donahoe was ineffective because he failed

to argue for a downward variance based on Petitioner’s post-sentence rehabilitative

efforts. This allegation is contrary to the record in this case. At the time of the

Petitioner’s re-sentencing, his Attorney Donahoe submitted a sentencing

memorandum as well as numerous exhibits reflecting the letters from friends and

family as well as Petitioner’s post-sentence rehabilitative efforts.1 Moreover,

Attorney Donahoe’s sentencing memorandum makes lengthy discussion of

Petitioner’s post-sentence rehabilitative efforts which included, but is not limited to,

educational and vocation programs, teaching, and favorable work evaluations.

Attorney Donahoe also directed the Court to portions of the PSR that highlighted his

post-sentence rehabilitative efforts.

      In United States v. Argento, 52 Fed.Appx. 41, 42 (9th Cir. 2002), the Ninth

Circuit Court of Appeals vacated and remanded Argento’s re-sentencing because his

attorney failed to request a downward departure based on his post-sentence

rehabilitation.

      This is not the case here. The unrefuted records clearly reflects that Attorney



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          Docs. ## 747, 750, 751.

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Donahoe did in fact argue for a downward departure based on Petitioner’s post-

sentence rehabilitation.

       More importantly, U.S.S.G. § 5K2.19 reads, “[p]ost-sentencing rehabilitative

efforts, even if exceptional, undertaken by a defendant after imposition of a term of

imprisonment for the instant offense are not an appropriate basis for a downward

departure when resentencing the defendant for that offense.” By its express terms,

post-sentence rehabilitative efforts cannot form the basis for a downward departure

during resentencing. U.S.S.G. § 5K2.19; United States v. Thompson, 315 F.3d 1071,

1078 n. 1 (9th Cir.2002).2 For the foregoing reasons, Petitioner’s § 2255 Motion on

this ground is DENIED.

       E.      ATTORNEY DONAHOE FAILED TO RE-LITIGATE DRUG
               QUANTITIES WHICH ENHANCED PETITIONER’S SENTENCE
               ABOVE THE MANDATORY MINIMUM

       Relying on the United States v. O’Brien, 130 S.Ct. 2169 (2010) and Harris v.

United States, 536 U.S. 545 (2000), Petitioner argues that Attorney Donahoe was

ineffective because he allegedly failed to argue that drug quantities that trigger a

greater mandatory minimum must be charged in the Indictment because they are



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         Although U.S. v. Ortland, 109 F.3d 539, 546 (9th Cir. 1997) precludes a Court from
relying on a later enacted guideline that imposes a greater punishment then in effect at the time of
the offense, this does not extend to what factors the Court may consider for purposes of a
downward departure.

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characteristics of the substantive offense and as such, not within the province of the

court.

         In Harris, the U.S. Supreme Court held that a fact deemed to be an element of

the offense must be pleaded in the indictment and proved to a jury beyond a

reasonable doubt. Harris, 536 U.S. at 549-50. In O'Brien, the Supreme Court held

that whereas “[e]lements of a crime must be charged in an indictment and proved to

a jury beyond a reasonable doubt ... [s]entencing factors, on the other hand, can be

proved to a judge at sentencing by a preponderance of the evidence.” O'Brien, 130

S.Ct. at 2174. Because the O’Brien court found that a factor under 18 U.S.C. § 924

( c) raised the minimum mandatory penalty range from one range to a higher range,

that factor was an element of the crime and had to be presented to the jury. Id.

         In the instant case, Petitioner’s conviction required a mandatory minimum

sentence of 120 months.        First, this Court notes that the Ninth Circuit Court of

Appeals already determined the government's proof of a large drug quantity "was

overwhelming and essentially uncontroverted." United States v. Pimentel-Tafolla,

60 Fed.Appx. 656, 670 (9th Cir. 2003).

         After review of both O'Brien and Harris, this Court concludes that neither case

applies to our present case. Petitioner was convicted under 21 U.S.C. § 841(a)(1)

which had a penalty range of 10 years to life. This penalty range was noted within

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the Indictment. Moreover, at trial, a jury, in finding Petitioner guilty beyond a

reasonable doubt of distribution also found the minimum drug amounts necessary to

be convict him under § 841(a)(1). As to his conviction on the conspiracy count

under 21 U.S.C. § 846, the maximum sentence allowed on that count is 240 months.

At the re-sentencing, this Court sentenced the Petitioner to 210 months. As such,

there is no error. Lastly, Petitioner has failed to show how his sentence of 210

months raised his minimum penalty range. Although he cites to United States v.

O’Brien, Petitioner fails to direct the Court to what the next lower penalty range

should have been.     In fact, a 210 month sentence falls squarely with prescribed

penalty range for a conviction under 841(a)(1) and 846. Petitioner's § 2255 Motion

on this ground is DENIED.

      F.     FAILING TO OBJECT TO STIPULATED REPORTS

      Petitioner alleges that Attorney Donahoe was ineffective because he failed to

raise the issue that, during Petitioner's trial, his trial attorney Palmer Hoovestal erred

because he failed to object to a stipulated forensic report. Petitioner fails to allege

how having required the forensic chemist to testify would have altered the outcome

of his trial. Although Petitioner contends that, if the forensic chemist was called,

Petitioner would have been given the opportunity to ask the chemist if “the report

would have established that Salazar knew the tested substance was

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methampetamine.” This line of reasoning is without merit.

       The forensic chemist and the forensic report’s sole purpose was to test the

evidence and confirm its chemical identity. Petitioner presents no evidence that the

chemist knew anything about the case beyond the methamphetamine and as such

would have had foundation to answer, or much less, be asked Petitioner’s proposed

question. Again, as noted by the Ninth Circuit, there was ample evidence to support

the conviction.

       Regardless, “professionally unreasonable errors on the part of counsel do not

warrant setting aside a conviction if the error had no effect on the judgment.” Larsen

v. Maggio, 736 F.2d 215, 217 (5th Cir.1984). Petitioner must demonstrate that an

error actually had an adverse effect on the defense; that the trial attorney's conduct

affected the proceedings' reliability. Id. at 218. Additionally, if the defendant makes

an insufficient showing on either the “deficient” or the “prejudice” prong of

Strickland, the claim lacks merit. Strickland, 466 U.S. at 697. Furthermore, “a court

need not determine whether counsel's performance was deficient before examining

the prejudice suffered by the defendant as a result of the alleged deficiencies.” Id. at

670.

       In the instant case, this Court concludes that Petitioner’s trial attorney Palmer

Hoovestal and Petitioner’s appellate attorney Michael Donahoe were not deficient in

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objecting or arguing the issue of the forensic report. Moreover, Petitioner has failed

to sufficiently allege any error from the admission of the forensic report. Petitioner’s

§ 2255 Motion for relief on this ground is DENIED.

      This Court finds that Petitioner has failed to establish that his attorneys

provided him with ineffective assistance of counsel. Therefore, this Court concludes

that all of Petitioner’s claims are without merit.        For the foregoing reasons,

Petitioner’s Habeas Petition pursuant to 28 U.S.C § 2255 is DISMISSED.

3.     Certificate of Appealability

      Under 28 U.S.C. § 2253(c), a petitioner must make a “substantial showing of

the denial of a constitutional right” in order to obtain a certificate of appealability

when the district court has denied a habeas claim on the merits. Slack v. McDaniel,

529 U.S. 473, 483-84 (2000); Hiivala v. Wood, 195 F.3d 1098, 1104 (9th Cir.1999).

To satisfy this standard, the petitioner “must demonstrate that reasonable jurists

would find the district court's assessment of the constitutional claims debatable or

wrong.” Slack, 529 U.S. at 484.

      Petitioner Salazar-Lopez has not made the required showing for a certificate

of appealability. Petitioner has not made any showing of a denial of a constitutional

right under the United States Constitution. Petitioner's arguments that counsel

provided ineffective assistance are unsupported by the record and the applicable law.

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Reasonable jurists would not debate the Court's conclusion that Petitioner has failed

to state a valid claim of the denial of a constitutional right.

      For the foregoing reasons, IT IS HEREBY ORDERED that

1.    Petitioner shall be allowed to Proceed in Forma Pauperis

2.    Petitioner’s Motion under 28 U.S.C. § 2255 [Doc. No. 783] is DISMISSED.

3.    Petitioner’s Certificate of Appealibility is DENIED.

The Clerk of Court shall notify the Parties of the making of this Order.

      DATED this 22nd day of December, 2010.


                                               /s/Jack D. Shanstrom
                                         HON. JACK D. SHANSTROM
                                         SENIOR U.S. DISTRICT JUDGE




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